Entered: March 25th, 2019
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Signed: March 22nd, 2019

SO ORDERED




                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF MARYLAND
                                            at Greenbelt
                            In re:     Case No.: 18−26200 − TJC     Chapter: 7     Doc No.: [9]

Yecker Stephenson
Debtor

Crosscountry Mortgage Inc.

Movant

vs.

Yecker Stephenson
Debtor(s)

Gary A. Rosen
Trustee

Respondent


                                     ORDER GRANTING RELIEF FROM STAY

In this case a discharge has been granted to the debtor and the Trustee has completed administration of assets. A
remaining undetermined matter is this motion for relief from automatic stay. The entry of the discharge terminated
the automatic stay as to an in personam action against the debtor. 11 U.S.C. § 362(c)(2)(C). The discharge injunction
of 11 U.S.C. § 524(a)(2) now permanently bars in personam actions against the debtor for discharged debts. The
filing by the Trustee of a Report of No Distribution or a Final Report indicates the Trustee's consent to closure of the
case. Upon the closure of the case, the automatic stay terminates as to any action to enforce liens against property of
the estate. 11 U.S.C. § 362(c)(1).

Accordingly, the court finds cause exists to terminate the automatic stay imposed by 11 U.S.C. § 362(a) so that the
case can be closed.

It is, therefore by the United States Bankruptcy Court for the District of Maryland,

ORDERED, that the automatic stay imposed by 11 U.S.C. § 362(a) is terminated as to Movant's right to execute upon
all liens that have not been avoided.

cc:    Debtor
       Attorney for Debtor − PRO SE
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      Case Trustee − Gary A. Rosen

      U.S. Trustee
      All Counsel

                                             End of Order
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